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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


   NOEL K. BANGO,                         1:20-cv-14978 (NLH)

                  Petitioner,             MEMORANDUM OPINION & ORDER

         v.

   STATE OF FLORIDA,

                  Respondents.


APPEARANCES:

Noel K. Bango
0189489
Main Detention Center
3228 Gun Club Road
West Palm Beach, FL 33406

     Petitioner pro se


HILLMAN, District Judge

     WHEREAS, Petitioner Noel K. Bango has filed a petition for

writ of habeas corpus under 28 U.S.C. § 2254, ECF No. 1; and

     WHEREAS, Petitioner is challenging a Florida state

proceeding in the Circuit Court of the Fifteenth Judicial

Circuit in and for Palm Beach County, State of Florida v. Noel

K. Bango, 2019-CF-009770; and

     WHEREAS, Petitioner is not challenging a New Jersey state

conviction, nor is he incarcerated in New Jersey.          “Where an

application for a writ of habeas corpus is made by a person in
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custody under the judgment and sentence of a State court of a

State which contains two or more Federal judicial districts, the

application may be filed in the district court for the district

wherein such person is in custody or in the district court for

the district within which the State court was held which

convicted and sentenced him and each of such district courts

shall have concurrent jurisdiction to entertain the

application.”    28 U.S.C. § 2241(d).       Therefore, this Court lacks

jurisdiction over the § 2254 proceeding; and

     WHEREAS, Petitioner challenges a proceeding from Palm Beach

County, which is located in the Southern District of Florida,

     THEREFORE, IT IS on this       27th    day of October, 2020

     ORDERED that the Clerk shall transfer this matter to the

United States District Court for the Southern District of

Florida, 28 U.S.C. § 1631; and it is finally

     ORDERED that the Clerk shall serve a copy of this Order

upon Petitioner by regular mail and close this matter.


                                             s/ Noel L. Hillman
At Camden, New Jersey                      NOEL L. HILLMAN, U.S.D.J.




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